Case 1:13-cv-08012-CM-DCF Document 269 Filed 02/14/20 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

NIKE, INC. and CONVERSE INC.,

Plaintiffs,
No. 13 Civ. 8012 (CM)(DCF)
-against-

MARIA WU d/b/a
WWW.SHOECAPSXYZ.COM, et al.,

Judgment Debtors.

x
NOTICE OF APPEAL

Notice is hereby given that Next Investments, LLC (“Next”), assignee to the Judgment
dated August 20, 2015 in the above-captioned case, appeals to the United States Court of Appeal
for the Second Circuit from the Order dated January 17, 2020, denying Next’s Motion to Hold
Agricultural Bank of China, Bank of China, Bank of Communications, China Construction Bank,
China Merchants Bank, and Industrial and Commercial Bank of China in Contempt and For a
Turnover Order (ECF No. 268).

Dated: February 14, 2020 GIBSON, DUNN & CRUTCHER LLP
New York, New York
By: s/ Robert L. Weigel
Robert Weigel
rweigel@gibsondunn.com
Howard S. Hogan
hhogan@gibsondunn.com
Lauren M.L. Nagin
Inagin@gibsondunn.com
Alexandra Leigh Grossbaum
agrossbaum@gibsondunn.com

200 Park Avenue
New York, New York 10166-0193
Telephone: 212.351.4000

Attorneys for Plaintiff Next Investments, LLC
